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           EXHIBIT A
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                                                                              Execution version

                                 SPECIAL SERVICING AGREEMENT

        This Special Servicing Agreement, dated as of March 1, 2009 (this "Agreement"), is
entered into by and among First Marblehead Education Resources, Inc. ("FMER"), as the Special
Servicer (together with its successors and assigns, the "Special Servicer"), U.S. Bank National
Association, as the Back-Up Special Servicer (the "Back-Up Special Servicer") and each of the
Trusts listed on Schedule A attached hereto (the "Trusts").

        WHEREAS, the Special Servicer, and other subservicing agents appointed from time to
time by the Special Servicer, as provided herein, are experts in the management of student loan
collections and default prevention services;

        WHEREAS, each of the Trusts is appointing the Special Servicer as a Servicer under
each Trust's respective Indenture, as listed on Schedule A attached hereto (the "Indentures"), to
perform certain limited duties with respect to student loans (the "Student Loan�") owned by the
Trusts, including Student Loans that are delinquent or defaulted loans ("Delinquent Loans" and
"Defaulted Loans," as defined below).

       WHEREAS, the Trusts are appointing the Back-Up Special Servicer to serve in such
capacity pursuant to the provisions of this Agreement;

       NOW, THEREFORE, in consideration of the premises and the mutual covenants
hereinafter set forth, the parties agree as follows:

       Section 1.      Definitions. Capitalized tenns used and not otherwise defined herein shall
have the meanings assigned to such tenns in the Indentures. For purposes of this Agreement, the
following capitalized terms shall have the respective meanings set forth below:

         "Defaulted Loan" means any Student Loan as to which any of the following: (a) a TERI
Guaranty Event has occurred, (b) the Servicer has determined that a TERI Guaranty Event has
occurred and has submitted documents supporting that determination to the Special Servicer or
(c) if the Student Loan is no longer subject to a valid TERI Guaranty Agreement, the Servicer
has detem1ined that a borrower has defaulted under his respective student loan credit agreement
and has notified the Special Servicer of such occurrence.

       "Delinquent Loan" means a Student Loan that is at least 31 days past due but is not yet a
Defaulted Loan.

           Section 2.         Appointment: Special Servicing Duties.

        A.     f',,npointm9_r1t. Each of the Trusts hereby hires, designates and appoints the
Special Servicer as a Servicer under each Trust's respective Indenture to perform the special
servicing duties (as defined below), and the Special Servicer accepts such appointment and
agrees to perform such duties with respect to the Student Loans, including Delinquent Loans and
Defaulted Loans, in accordance with the tem1s of this Agreement and each Indenture.

       B.     Special Services. The Special Servicer shall take such actions as it shall deem
reasonably necessary or appropriate to administer and oversee Early Awareness Services (as


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defined below) with respect to Student Loans as generally described below and the enforcement
and collection of Delinquent Loans and Defaulted Loans to maximize the collection of amounts
payable on the Student Loans (collectively, the "Special Services"), including without limitation:

                   (i)     Retaining and entering into agreements with licensed collection agencies
                           and other legally authorized persons (the "Subservicers") engaged in
                           providing default prevention services, in form and substance satisfactory
                           to the Special Servicer, pursuant to which the Subservicers, for and on
                           behalf of the applicable Trust, will contact borrowers with respect to the
                           Student Loans, including \\~thout limitation borrowers with respect to
                           Delinquent Loans or Defaulted Loans, and seek enforcement and
                           collection of such Loans;

                   (ii)    At the sole discretion of the Special Servicer, (a) perfo1m.ing periodic
                           audits of Subservicers for compliance and performance reviews and (b)
                           providing oversight of the activities of Subservicer with regard to account
                           management, litigation assistance, and/or settlement strategies;

                   (iii)   Replacing any Subservicer who, in the sole judgment of the Special
                           Servicer, is deemed to be deficient or negligent in performing the duties
                           outlined in its subscrvicing agreement with the Special Servicer;

                   (iv)    Requiring in the applicable subservicing agreement, the Subservicers to
                           provide certain monthly reports to the Special Servicer with respect to
                           Student Loans serviced by such Subservicer, in each case, in form and
                           substance satisfactory to the Special Servicer;

                   (v)     With respect to Student Loans, retaining one or more Subservicers to
                           perform Early Awareness Services. "Earlv Awareness Services" shall
                           mean such services determined by the Special Servicer to be desirable to
                           reduce the number and percentage of student borrowers becoming
                           subsequently delinquent in the repayment process, including without
                           limitation, services that are intended to alert student borrowers and
                           coborrowers as to their repayment obligations, available borrower benefits
                           (such as ACH automatic payments) and contact information for the
                           Servicer, Early Awareness Services may include both telephonic and mail
                           contacts, as well as address verification and skip tracing;

                    (vi)   With respect to Delinquent Loans, the Special Servicer shall transfer all
                           collection activities from the applicable Servicer to Subservicers who will
                           seek enforcement and collection of such Loans and provide monthly
                           reports to lhe Special Servicer in fonn and substance satisfactory to the
                           Special Servicer, provided that the Special Servicer shall not be required
                           to transfer such collection activities if First Marblehead Data Services, Inc.
                           ("FMDS") is the Administrator and FMDS determines that collections
                           would not be maximized on such Delinquent Loans if the collection
                           activities were transferred lo Subservicers;



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              (vii)     With respect to Defaulted Loans, review claim packages as described in
                        subparagraph (xi);

              (viii)    With respect to Defaulted Loans that arc the subject of a TERl Guaranty
                        Event, as determined by the Special Servicer: (a) submit a claim under the
                        Guaranty Agreement to TERI for the benefit of the Trust, andior (b) refer
                        the loan for collection by a Subservicer on behalf of such Trust;

              (ix)      With respect to Defaulted Loans that are over 180 days delinquent, the
                        Special Servicer will cause the Subscrvicer to (a) roll or reassign accmmts
                        from 180 days delinquent into a default recovery queue for collection
                        efforts and (b) remit weekly to the FMER Collection Account (as
                        hereinafter defined) for the receipt of collections from a Subservicer for
                        the benefit of the respective trusts as their interest may appear, cash
                        collected on all Defaulted Loans serviced by such Subservicer for the
                        Trnsts,

              (x)       Establishing and maintaining an accom1t or accounts ("FMER Collection
                        Account") in the name of the Indenture Trustee (or its agent or custodian)
                        for benefit of the applicable secured parties of the Trusts under the
                        respective Indentures for the deposit by a Subservicer of net collections on
                        all Defaulted Loans serviced by such Snbservicer for the respective Trust
                        and in connection therewith preparing or causing to be prepared such
                        control agreement or agreements as may be necessary or desirable to
                        maintain and preserve the lien and security interest therein of the
                        Indenture Trustee under the respective Indentures;

              (xi)      Reviewing claim packages (which packages shall contain the information,
                        reports and documents required in the Program Manual for the related
                        TERl Guaranty Agreement and identified on the checklist or lists attached
                        hereto as Exhibit I) prepared by the Servicer with respect to Defaulted
                        Loans to confinn, 011 the basis of such review, that (a) Servicer has
                        complied with applicable servicing guidelines and (b) the loan originator
                        has complied with applicable pro:;,,ram guidelines;

              (xii)     Receiving reports from Servicers and Subservicers related to payments
                        with respect to Delinquent Loans and Defaulted Loans and updating
                        records with respect to Student Loans as interest and other charges accrue
                        and amounts are collected;

               (xiii)   Remitting or causing the Subservicer to remit net collections received on
                        Defaulted Loans to the FMER Collection Account;

               (xiv)    With respect to Defaulted Loans, the Special Servicer shall transfer all
                        collection activities to Subservicers, provided that the Special Servicer
                        shall not be recJuired to transfer such collection activities if FMDS is the
                        Administrator and FMDS determines that it is likely that collections would



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                        not be maximized on such Defaulted Loans if the collection activities were
                        transferred to Subservicers;

                (xv)    Retaining counsel on behalf of the applicable Trust (whether directly or
                        through collection agencies) to further pursue enforcement and collection
                        of Delinquent Loans and Defaulted Loans, including through litigation and
                        bankruptcy or probate proceedings; and

                (xvi)   Negotiating any settlement or compromise of any claim with respect to a
                        Defaulted Loan, which in the reasonable judgment of the Special Servicer
                        or the applicable Subservicer is more likely to produce greater proceeds of
                        collection than by virtue of a forbearance, payment ancangement or other
                        accommodation with the bonower,

        Section 3.     Incorporation. As of the date hereof, the definition of "Servicing
Agreement" in each of the Indentures shall include this Agreement, the definition of "Servicer"
in each of the Indentures shall include the Special Servicer and any Servicing Fee and other fees
and expenses payable under this Agreement to the Special Servicer or the Back-Up Special
Servicer shall be a "Servicing Fee" for purposes each of the Indentures.

        Section 4.     Subservicers. In carrying out its duties under this Agreement with
respect to the Student Loans, including Delinquent Loans and Defaulted Loans, the Special
Servicer may retain and employ Subservicers to perform any of the Special Services with respect
to the Student Loans owned by any of the Trusts, and to commence any actions or proceedings
the Subservicers deem necessary or appropriate in connection with such enforcement or
collection efforts on such Student Loans, the costs of such services with respect to Delinquent
Loans shall be subject to the Monthly Reimbursement Limit described in Section 5(B) below.

        Section 5.     Servicinu __fee. As compensation for the performance of the Special
Servicer's obligations under tbis Agreement and as reimbursement for its expenses related
thereto, the Special Servicer shall be entitled to a fee and expense reimbursement (the "Servicing
Fee") payable from each Trust in accordance with the related Indenture on each Distribution
Date consisting of:

       A.      A fixed fee at a rate eqnal to 1/12 of 0.01 % of the aggregate outstanding Pool
Balance (for the Student Loans owned by such Trust) as of the last day of the prior calendar
month.

        B.     Reimbnrsement by each Trust for all of the Special Servicer's expenses incurred
in perfonning its obligations hereunder for such Trust, including all fees and expenses of all
Subservicers and other persons appointed as agents of the Special Servicer pursuant to this
Agreement and any other expenses incurred by the Special Servicer on behalf of each Trust,
including costs and expenses incurred by the Special Servicer in establishing and maintaining the
FMER Collection Account; provided that the fees and expenses of Snbservicers with respect to
collections on Defaulted Loans shall be paid from such collections prior to remittance to such
FMER Collection Account, as described in Section 2(B)(x) and (xiii) above. The reimbursement
described in this Section 5(B) with respect to Special Services for Delinquent Loans (but not



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with respect to Early Awareness Services for Student Loans or witb respect to Special Services
for Defaulted Loans) shall not exceed the dollar amount listed for each Trust on Schedule B,
attached hereto, in the aggregate per calendar month per respective Trust (the "Monthly
Reimbursement Limit"). The reimbursement described in this Section 5(B) with respect to
Special Services for Early Awareness Services for Student Loans shall not exceed the dollar
amount listed for each Trust on Schedule C, attached hereto, in the aggregate for each such Trust
until its respective Indenture is discharged.

        C.      The Administrator of each Trust may (and shall, at the direction of the Back-Up
Special Servicer if it shall be acting as Special Servicer) arrange direc1 payments of the Servicing
Fee from each Tiust to the Subservicers by delivering written instructions to the Inden1ure
Trustee to make such payments, as the same may be calculated, apportioned and charged to each
of the Trusts by the Administrator based on the expenses of the Subservicers relating to the
Trust's private student loan portfolio. The payment of the Servicing Fee payable by each Trust
shall be solely an obligation of such Trust, payable in accordance with the Indentures, and none
of the parties hereto, including the Back-Up Special Servicer in such capacity or in its capacity
as successor Special Servicer, or any of the Trusts shall be liable to any Subservicer for ru1y
amounts owed by FMER pursuant to its arrangements with Subservicers except as provided in
Sections 5(A) and (B) hereof to the extent funds are reimbursed by the Trusts.

       Section 6.      Term of A&:reement: Resignation and Removal of Special Servicer.

        A.     This Agreement shall continue in force with respect to each Trust until the
dissolution of such Trust and the payment in full of the Notes under the related Indenture, upon
which event this Agreement shall automatically terminate with respect to that Trust. The Back-
Up Special Servicer's duties and ohligations hereunder (including in its capacity as successor
Special Servicer, if applicable) and its right to receive compensation as provided in Section 8(F)
shall terminate upon the payment in full of the Notes tmder the related Indenture.

        B.     Subject to Section 6(E) of this Agreement, the Special Servicer may resign its
duties hereunder by providing the Trusts, the Administrator, the Back-Up Special Servicer and
the Indenture Trustee with at least l O days' prior written notice.

       C.      [RESERVED]

       D.     Subject to Section 6(E) of this Agreement, the Indenture Trustee shall remove the
Special Servicer by delivering to the Special Servicer v1ritten notice of termination if any of the
following events shall occur:

               (i)     The Special Servicer shall default in the performance of any of its duties
                       under this Agreement and, after written notice of such default, shall not
                       cure such default within forty-five days (or such longer period as shall be
                       reasonably satisfactory to the Indenture Trustee);

               (ii)    A court having jurisdiction in the premises shall enter a decree or order for
                       relief, and such decree or order shall not have been vacated within 60
                       days, with respect to any involuntary case commenced against the Special
                       Servicer under any applicable bankruptcy, insolvency or other similar law


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                       now or hereafter in effect or shall appoint a receiver. liquidator, assignee,
                       custodian, trustee, sequestrator or similar official for the Special Servicer
                       or any substantial pmt of its property or order the winding-up or
                       liquidation of its affairs;

               (iii)   The Special Servicer shall commence a voluntary case under any
                       applicable bm1kruptcy, insolvency or other similm law now or hereafter in
                       effect, shall consent to the entry of an order for relief in an involuntary
                       case under any such law, or shall consent to the appointment of a receiver,
                       liquidator, assignee, trustee, custodian, sequestrator or similar official for
                       it or m1y substantial part of its property, shall consent to the taking of
                       possession by any such official of any substantial part of its property, shall
                       make any general assignment for the benefit of its creditors or shall fail
                       generally to pay its debts as they become due; or

               (iv)    Either: (a) The First Mm·blehead Corporation ("FMC-') no longer has
                       sufficient assets to pay debts as they come due in the ordinmy course of
                       FMC's business or (b) FMC reports in its consolidated financial
                       statements cash, cash equivalents, investments and federal funds sold, in
                       the aggregate, of less than $30 million at the end of any fiscal quarter.

                The Special Servicer agrees that if any of the events specified in clauses (ii), (iii)
or (iv) of this Section shall occur, it shall give written notice thereof to the Owner Trustee, the
Back-Up Special Servicer, each of the Rating Agencies a11d the Indenture Trustee within two
Business Days after the happening of such event Concurrently with the giving of such notice as
provided above (m1d in any evem no later than five (5) Business Days after receipt of notice of
termination), the Special Servicer shall (i) notify NCO (or, if applicable, such other Subservicer
or Subserviccrs under such agreements with Subservicers as may then he in effect) of its removal
(mid provide the Back-Up Special Servicer with a copy of such notice), and (ii) cause the
Servicers to provide to NCO (or such other Subservicer or Subservicers) such data files,
information and access to Servicer's systems as may be required by the NCO Agreement (or
successor agreements) or as may be necessary or desirable for NCO (or such Subservicer or
Subservicers) to perform under the NCO Agreement (or such other agreements with Subservicers
as may then be in effect).

        E.      No resignation or removal of the Special Servicer pursuant to this Section shall be
effective until a successor Special Servicer (which Servicer, if other thm1 the Back-Up Special
Servicer shall he reasonably acceptable to the Indenture Trustee) shall have agreed in ½Tiling to
be bound by the terms of this Agreement in the same mmmer as the Special Servicer is bound
hereunder, subject, with respect to the Back-Up Special Servicer, the terms of this Agreement.
The appointment of any successor Special Servicer ( other than the Back-Up Special Servicer)
shall be effective only after each Rating Agency shall have been given 10 days' prior notice of
such proposed appointment and each Rating Agency other than Fitch Ratings (Fitch, Inc.) shall
have declared in writing that such appointment will not result in a reduction or withdrawal of the
then-current raring of the Notes.




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        Section 7.     Action upon Termination, Resignation or Removal. Promptly upon the
effective date of termination of this Agreement pursuant to Section 6(A) of this Agreement or the
resignation or removal of the Special Servicer pursuant to Section 6 of this Agreement, the
Special Servicer shall be entitled to be paid all fees and reimbursable expenses accruing to it to
the date of such termination, resignation or removal. The Special Servicer shall forthwith upon
such termination pursuam to Section 6 of this Agreement deliver to the Trusts as appropriate, all
property and documents of or relating to the Student Loans then in the custody of the Special
Servicer pursuant to this Agreement. In the event of the resignation or removal of the Special
Servicer pursuant to Section 6 of this Agreement, the Special Servicer, for a period of not less
than 120 days following notice of such resignation or removal, shall cooperate with the Trusts
a11d the Back-Up Special Servicer and tal,e all reasonable steps requested to assist the Trusts and
 Back-Up Special Servicer in making an orderly transfer of the duties of the Special Servicer to
the Back-Up Special Servicer or other successor Special Servicer, as applicable.

           Section 8.   Back-Up Special Servicer.

         A.     In the event of the resignation or removal of the Special Servicer pursuant to
Section 6 of this Agreement, the Back-Up Special Servicer shall become the Special Servicer
and shall assume the rights, duties and obligations of the Special Servicer to the extent expressly
required to be assumed and performed by the Back-Up Special Servicer under this Agreement;
provided that the Back-Up Special Servicer shall not under any circumstances be responsible for
any representations and warranties made by FMER as the Special Servicer, or for any payment
and indemnity obligations of FMER as the Special Servicer under this Agreement, or for any
liability incurred by FMER as the Special Servicer prior to the date of the assumption by the
Back-Up Special Servicer of the obligations of the Special Servicer under this Agreement or for
any obligation to pay the fees a11d expenses of any Subservicer (except to the extent it receives
funds from the Trusts for such purposes). In addition, nothing in this Agreement shall be
construed to require or permit the Back-Up Special Servicer (in its capacity as Special Servicer
or otherwise) to undertake direct collection or enforcement activities including, without
limitation, Early Awareness Services, with respect to consumer borrowers or other consumer
obligors, Notwithstanding any term hereof or elsewhere to the contrary, the Back-Up Special
 Servicer (in its capacity as Special Servicer or otherwise) shall have no liability hereunder or
otherwise in the event that it is unable to engage one or more Subservicers, upon reasonably
 acceptable terms and conditions (including compensation) and in accordance with the applicable
terms and requirements of this Agreement, to perform Early Awareness Services, enforcement,
 collection and servicing of Delinquent Loans and Defaulted Loa11s; so long as the Back-Up
 Special Servicer shall have taken commercially reasonable efforts to engage one or more
 Subservicers to perform such Special Services. Notwithsta11ding the foregoing, the Back-Up
 Special Servicer, if it is unwilling or unable to so act, may designate a successor Special Servicer
 under this Agreement, subject to the satisfaction of the conditions set forth in Sections 6(E)
 hereof.

         B.    In the event that the Special Servicer resigns or is removed as Special Servicer
 a11d the Back-Up Special Servicer begins performing Special Servicer's duties a, Special
 Servicer under this Agreement, the Back-Up Special Servicer shall be compensated as the
 Special Servicer in accordance with this Agreement. Upon assuming the duties of Special
 Servicer pursuant to this Section 8, except as otherwise provided herein, the Baek-Up Special


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Servicer will be subject to all of the terms and conditions of this Agreement as "Special
Servicer" insofar as such terms and conditions apply to the Back-Up Special Servicer's duties as
set forth above, Without limiting the foregoing, in the perfmmance or non-performance of its
duties contemplated by this Section 8, the Back-Up Special Servicer (in its capacity as Special
Servicer or otherwise) shall be subject to the same standard of care as the Special Servicer and
shall be entitled to the same rights, privileges, protections, immunities and benefits given to the
Special Servicer hereunder. The Back-Up Special Servicer as successor Special Servicer may
employ and act through agents, attorneys and independent contractors and shall not be
responsible or accountable for perforn1ance of snch agents and independent contractors
appointed by it with due care. In carrying out the duties or obligations of the Special Servicer
under this Agreement, the Back-Up Special Servicer may enter into transactions or otherwise deal
with any of its Affiliates. In no event will the Back-Up Special Servicer be responsible for the
obligations of the Special Servicer (or any Servicer or Subservicer) or be responsible for any
actions, omissions or malfoasance of the Special Servicer under this Agreement prior to the
 assumption by the Back-Up Special Servicer of the obligations of the Special Servicer (or any
 Servicer or Subservicer) under this Agreement or any agreement with a Servicer or Subservicer.
 The Back-Up Special Servicer (in such capacity and in its capacity as successor Special Servicer)
 shall not be liable for any e1Tors contained in any reports, certificate or other data or document
 delivered to the Back-Up Special Servicer (in such capacity and in its capacity as successor
 Special Servicer) hereunder or on which it must rely in order to perfonn its obligations hereunder
 (including in its capacity as Special Servicer). In no event shall the Back-lJp Special Servicer
 have any responsibility to monitor, supervise, verify or administer the performance of the Special
 Servicer or any Servicer or Subservicer, prior to the date it assumes the duties of the Special
 Servicer. The Back-Up Special Servicer (including in its capacity as successor Special Servicer,
 if applicable) undertakes to perform only such duties and obligations as are specifically set forth
  in this Agreement, it being expressly understood by all parties hereto that there are no implied
  duties or obligations of the Back-Up Special Servicer hereunder. In no event will the Back-Up
  Special Servicer (including in its capacity as successor Special Servicer) be liable for any
  indirect damages, lost profits, speciaL pnnitivc, or consequential damages which arise out of or
  in connection with the services contemplated by this Agreement even if the Back-Up Special
  Servicer has been informed of the possibility of such damages. lf the Back-Up Special Servicer
  (including in its capacity as successor Special Servicer) is prevented from fulfiliing its
  obligations hereunder as a result of government actions, regulations, fires, strikes, accidents
  causing a material disruption in the operations of the Back-Up Special Servicer, acts of god or
   other causes beyond its control, its obligations shall be suspended for a reasonable time during
   which such conditions exist.

          C.     In order to facilitate the performance of the Back-Up Special Servicer's duties
 under this Agreement, for a period of not less than 120 days following the resignation or removal
 of the Special Servicer pursuant to Section 6 of this Agreement the Special Servicer will provide
 to the Back-Up Special Servicer reasonable access, during normal business hours and upon
 reasonable prior notice, to all files, systems and employees of the Special Servicer then used in
 the provision of the Special Services. Without limiting the generality of the foregoing, the
 Special Servicer agrees to cooperate with the Back-Up Special Servicer (or its designee) to
 facilitate the orderly transfer of its duties under this Agreement, including without limitation,
 notifying the Servicers, Subservicers, the Custodians, their collection agents and other
 appropriate parties of the transfer of the Special Servicer funetion and providing (or causing the


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Servicers, Subservicers and/or Custodians, as applicable, to provide) tbe Back-Up Special
Servicer with all documents and records in electronic or other form reasonably requested by the
Back-Up Special Servicer to enable the Back-Up Special Servicer or its designee to assume the
Special Servicer' s functions under this Agreement (including without limitation such information
relating to Delinquent Loans and Defaulted Loans) and shall transfer (and cause any collection
agent to transfer) to the Indenture Trustee for deposit into the Collection Account for the benefit
of each Trust net collections received by it with respect to the Defaulted Loans.

        D.      In the event that the Back-Up Special Servicer begins perfonning the Special
Servicer's duties, it shall be authorized to accept and rely on all of the accounting, records
(including computer records) and work of the Special Servicer, any Servicer or any Subservicer
(collectively, the "Predecessor Work Product") without any audit or other examination tbereof,
and it shall have no duty, responsibility, obligation or liability for the acts and omissions of the
Special Servicer or of a Servicer or Subservicers. If any error, inaccuracy, omission or incorrect
or non-standard practice or procedme (collectively, "Errors") exist in any Predecessor Work
Product and such Errors make it materially more difficult to service or should cause or materially
contribute to the successor Special Servicer making or continuing any Errors (collectively,
"Continued Errors"), the Back-Up Special Servicer as successor Special Servicer or otherwise
shall have no duty, responsibility, obligation or liability for such Continued Errors; provided that
the Back-Up Special Servicer agrees to use its commercialiy reasonable efforts to prevent further
Continued Errors. In the event that the Back-Up Special Servicer upon succeeding to the Special
Servicer becomes aware of Errors or Continued Errors, it shall use commercially reasonable
efforts to reconstrnct and reconcile such data in order to correct such Errors and Continued
Errors and to prevent future Continued Errors. In performing the obligations of the Special
Servicer under this Agreement, the Back-Up Special Servicer in its capacity as successor Special
 Servicer, shall be entitled to rely conclusively on the reports and other information which it may
receive from a Servicer or Subservicer, including as to the accuracy and completeness thereof,
and shall not be required to reconcile such information nor shall it be required to otherwise
 supervise or monitor the perfom1a:nce of such Servicers or Subservicers. The Back-Up Special
 Servicer (including in its capacity as Special Servicer) shall have no liability for the acts or
omissions of any such Servicer or Subservicer in perfom1ing its obligations under the applicable
Servicing Agreement.

        E.      Subject to the foregoing, the Back-Up Special Servicer will be required to begin
performing its duties as successor Special Servicer under this Agreement within 30 days of
receiving notice of the resignation or removal of FMER as Special Servicer under this
Agreement (or, if later, the effective dare of the resignation or removal). Administrator shall be
responsible for and hereby covenants to provide such notice promptly upon such resignation or
removal of FMER as Special Servicer. Out of pocket costs and expenses (including the fees of
its counsel and agents) incurred by the Back-Up Special Servicer in connection with the
transition of services hereunder during the 120 day period following notice of the resignation or
removal of FMER as Special Servicer (including without limitation any costs and expenses
associated with any Subservicer engagement described in Section 80 below) shall be borne by
FMER. To the extent that such expenses are not paid by FMER (but without limiting or
discharging its liability therefor), such expenses shall be paid by FMDS, as Administrator who
may seek reimbursement from the Trusts (and to the extent not paid by the Administrator, such
expenses shall be reimbursed to the Back-Up Special Servicer by the Trusts first, as a Servicer


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expense up to the Monthly Reimbursement Limit, with any remaining an1ounts for a Distribution
Date payable as indemnities, fees and expenses of the Servicer after the payment on such date of
the principal and interest due on the Notes on such Distribution Date). such reimbursement by
the Trusts to be apportioned in accordance with the respective Pool Balance of Student Loans
owned by each Trust as of the resignation or removal of FM.ER.

        F.     As compensation for the performance of the Back-Up Special Servicer's
obligations under this Agreement, the Back-Up Special Servicer shall he entitled to a monthly
fee of $1,000 per Trust payahle by the Trusts on each Distribution Date as a Servicing Fee
pursuant to the terms of each Indenture, until such time as the Back-Up Special Servicer either
begins performing the duties of the Special Servicer under this Agreement or otherwise ceases to
he the Back-Up Special Servicer.

        G.      The initial Special Servicer hereby represents and warrants that the Default
Prevention and Collection Services Agreement, daled as of March 1, 2009 (the "NCO
Agreement"), between the Special Servicer and NCO Financial Systems, Inc. ("NCO") (attached
hereto as Exhibit II) is in full force and effect; and the initial Special Servicer hereby covenants
and agrees with the Back-Up Special Servicer that the initial Special Servicer shall at all times
maintain in full force (i) the NCO Agreement, and the engagement of NCO thereunder as
Subservicer, or (ii) one or more other agreements upon terms reasonably acceptable to the Back-
Up Special Servicer, with a Subservicer or Subservicers reasonably acceptable to the Back-Up
Special Servicer and capable of performing the obligations of a Subservicer as contemplated by
this Agreement. Without limiting or discharging any other liability or obligation the Special
Servicer may have hereunder or otherwise in respect thereot; the initial Special Servicer hereby
expressly agrees to indemnify and hold harmless the Back-Up Special Servicer for and from any
and all losses, liabilities, damages, costs and expenses (including reasonable attorney's fees) that
may he suffered, incmred or paid by the Back-Up Special Servicer as a result of, or arising from,
any breach on the part of the Special Servicer of the representations, warranties, covenants or
agreements set forth in the preceding sentence, including without limitation any cost associated
with the engagement by the Back-Up Special Servicer of one or more acceptable Subservicers
necessitated thereby. FMER shall give 10 days' prior notice to the Back-Up Special Servicer of
any ani.endment, modification or waiver relating to the NCO Agreement (or such other
 agreement or agreements contemplated in subclause (ii) above), which notice shall be
 accompanied by the fonn of the proposed amendment, modification, waiver or a6,reement or
 agreements, as applicable.

        Section 9.     Representations and Warranties.

        A.      The Special Servicer hereby makes the following representations and warranties
to each of the Trusts and to the Back-Up Special Servicer:

                (i)    Organization and Good Standing. The Special Servicer is an entity duly
                       organized, validly existing, and in good standing under the laws of its state
                       of incorporation or formation or the laws of the United States, and is in
                       compliance with the laws of each state in which any property is located to
                       the extent necessary to perform its obligations hereunder.




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               (ii)     No Violation. Neither the execution and delivery by the Special Servicer
                        of this Agreement, nor the consummation by it of the transactions
                        contemplated hereby, nor the performance of and compliance by the
                        Special Servicer with the provisions hereof, will conflict vvith or result in a
                        breach or violation of, or constitute a default (or an event which, with
                        notice or the lapse of time, or both, would constitute a default) under, the
                        organizational documents (its articles of incorporation or charter or by-
                        laws) of the Special Servicer, any of the provisions of any judgment,
                        decree, demand, or order of any federal, state, or local comi binding on the
                        Special Servicer, or any of the provisions of any indenture, mortgage,
                        contract, instrument, or other document to which the Special Servicer is a
                        party or by which it is bound, or result in the creation or imposition of any
                        lien, charge, or encumbrance upon any of its properties pursuant to the
                        terms of any indenture, mortgage, contract, instrument, or other docmnent.
                        Neither the execution and delivery by the Special Servicer of this
                        Agreement, nor the consummation by it of the transactions contemplated
                        hereby, nor the pcrfom1ance of and complim1ce by the Special Servicer
                         with the provisions hereof. will, to its knowledge, result in a breach of any
                         law, rule or regulation of any federal, state or local govemmental or
                         regulatory authority binding on the Special Servicer. The Special Servicer
                         is not othe1wise in violation of any law. rule, regulation, judgment, decree,
                         demand, or order (of any federal, state or local governmental or regulatory
                         authority or comt), which violation, in the Special Servicer's good faith
                         and reasonable judgment, is likely to affect materially and adversely either
                         its ability to perfonn its obligations hereunder, or the financial condition
                         of the Special Servicer.

                (iii)    Authorization and Enforceabilitv. The execution and delivery by the
                         Special Servicer of this Agreement, the consummation of the transactions
                         contemplated hereby, and the performance and compliance by the Special
                         Servicer with the terms hereof are within the powers of the Special
                         Servicer, and have been duly authorized by all necessary action on the part
                         of the Special Servicer. All organizational resolutions and consents
                         necessary for the Special Servicer to enter into and consummate all
                         transactions contemplated hereby have been obtained. This Agreement has
                         been duly executed and delivered by the Special Servicer and constitutes
                         the legal, valid m1d binding obligation of the Special Servicer, enforceable
                         against it in accordance with its terms, subject to applicable bankruptcy,
                         insolvency, reorganization, moratoriwn, and other similar laws affecting
                         creditors' rights generally, and to general principles of equity, regardless
                         of whether such enforcement is considered in a proceeding in equity or at
                         laVI'. The Special Servicer has not failed to obtain any consent, approval,
                         authorization, or order of, or failed to cause any registration or
                         qualification with, any court or regulatory authority or other governmental
                          body having jurisdiction over the Special Servicer, which consent,
                          approval, authorization, order, registration, or qualification is required for,
                          and the absence of which would materially adversely affect, the legal and


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                            valid execution, delivery, and perfonnance of this Agreement by the
                            Special Servicer.

                     (iv)   Approvals and Permits. The Special Servicer possesses such certificaies,
                            authorizations, licenses, and permits issued by the appropriate state,
                            federal, and foreign regulatory agencies or bodies necessary to conduct the
                            business now operated by it, and it has not received any notice of
                            proceedings relating to the revocation or modification of any such
                            certificate, authorization, or permit which, singly or in the aggregate, if the
                            subject of an unfavorable decision, ruling, or finding, would materially
                            and adversely affect the ability of the Special Servicer to perform its
                            obligations hereunder.

                     (v)    No Litigation. No litigation is pending or, to the best of the Special
                            Servicer's knowledge, threatened against it, which, if determined
                            adversely to the Special Servicer would prohibit the Special Servicer from
                            entering into this Agreement or, in the good faith and reasonable judgment
                            of the Special Servicer, is likely to materially and adversely affect either
                            its ability to perform its obligations hereunder or the financial condition of
                            the Special Servicer.

      B.      The Back-Up Special Servicer hereby makes the following representations and
wmTanties to each of the Trusts and to the Special Servicer:

                     (i)    Or£m1ization and Good Standing. The Back-Up Special Servicer is an
                            entity duly organized, validly existing, and in good standing under the
                            laws of its state of incorporation or formation or the laws of the United
                            States, and is in compliance with the laws of each state in which any
                            property is located to the extent necessary to perfom1 its obligations
                            hereunder.

                     (ii)   No Violation. Neither the execution and delivery by the Back-Up Special
                            Servicer of this Agreement, nor the consummation by it of the transactions
                            contemplated hereby, nor the performance of and compliance by the Back-
                            lJp Special Servicer with the provisions hereof, will conflict with or result
                            in a breach or violation of, or constitute a default ( or an event which, with
                            notice or the lapse of time, or both, would constitute a default) under, the
                            organizational docun1ents (its articles of incorporation or charter or by-
                            laws) of the Back-Up Special Servicer, any of the provisions of any
                            judgment, decree, demand, or order of any federal, state, or local court
                            binding on the Back-l'p Special Servicer, or any of the provisions of any
                            indenture, mortgage, contract, instrument, or other document to which the
                            Back-Up Special Servicer is a party or by which it is bound, or result in
                            the creation or imposit.ion of any lien, charge, or encumbrance upon any of
                             its properties pursuant to the terms of any indenture, mortgage, contract,
                             instrument, or other document. Neither the execution and delivery by the
                             Back-Up Special Servicer of this Agreement, nor the consummation hy it



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                          of the transactions contemplated hereby, nor the perfonnance of and
                          compliance by the Back-Up Special Servicer with the provisions hereof,
                          will, to its knowledge, result in a breach of any law, rule or regulation of
                          any federal, state or local governmental or regulatory authority binding on
                          the Back-Up Special Servicer. The Back-Up Special Servicer is not
                          otherwise in violation of any law, rule, regulation, judgment decree,
                          demand, or order (of any federal, state or local governmental or regulatory
                          authority or court), which violation, in the Back-Up Special Servicer's
                          good faith and reasonable judgment, is likely to affect materially and
                          adversely either its ability to perform its obligations hereunder, or the
                           financial condition of the Back-Up Special Servicer.

                  (iii)   Authorization and Enforceabilitv. The execution and delivery by the
                          Back-Up Special Servicer of this Agreement, the consummation of the
                          transactions contemplated hereby, and the performance and compliance by
                          the Back-lJp Special Servicer with the terms hereof are within the powers
                          of the Back-Up Special Servicer, and have been duly authorized by all
                          necessary action on the part of the Back-Up Special Servicer. All
                          organizational resolutions and consents necessary for the Back-Up Special
                           Servicer to enter into and consummate all transactions contemplated
                          hereby have been obtained, This Agreement has been duly executed and
                           delivered by the Back-Up Special Servicer and constitutes the legal, valid
                           and binding obligation of the Back-Up Special Servicer, enforceable
                           against it in accordance with its terms, subject to applicable bankruptcy,
                           insolvency, reorganization, moratorium, and other similar laws affecting
                           creditors' rights generally, and to general principles of equity, regardless
                           of whether such enforcement is considered in a proceeding in equity or at
                           law. The Back-Up Special Servicer has not failed to obtain any consent,
                           approval, authorization, or order of, or failed to cause m1y registration or
                           qualification with, any court or regulatory authority or other governmental
                           body having jurisdiction over the Back-Up Special Servicer, which
                           consenl, approval, anthorization, order, registration, or qualification is
                           required for, and the absence of which wonld materially adversely affect,
                           the legal m1d valid execution, delivery, and perfonnance of this Agreement
                            by the Back-lJp Special Servicer.

                   (iv)    Approvals and Permits. The Back-Up Special Servicer possesses such
                           certificates, authorizations, licenses, and permits issued by the appropriate
                           state, federal, and foreign regulatory agencies or bodies necessary to
                           conduct the business now operated by it.. m1d it has not received any notice
                           of proceedings relating to the revocation or modification of any such
                           certificate, authorization, or pem1it which, singly or in the aggregate, if the
                           subject of an unfavorable decision, ruling, or finding, would materially
                           and adversely affect the ability of the Back-Up Special Servicer to
                           perform its obligations hereunder.




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               (v)    No Litigation. No litigation is pending or, to the best of the Back-Up
                      Special Servicer' s knowledge, threatened against it, which, if determined
                      adversely to the Back-Up Special Servicer would prohibit the Back-Up
                      Special Servicer from entering into this Agreement or, in the good faith
                      and reasonable judgment of the Back-Up Special Servicer, is likely to
                      materially and adversely affect either its ability to perform its obligations
                      hereunder or the financial condition of the Back-Up Special Servicer.

        Section I 0.   Indemnification. The Special Servicer will indemnify each of the Trusts,
the Owner Trustee, the Back-Up Special Servicer (including in its capacity as Special Servicer)
and the Indenture Trustee and their officers, directors, employees and agents for, and hold them
harmless against, any losses, liability or expense, including reasonable attorneys' fees and
expenses, incurred in the absence of willful misconduct, negligence or bad faith on the part of the
Trusts, the Owner Trustee, the Back-Up Special Servicer or the Indenture Trustee (as applicable)
and their agents, arising out of the willful misconduct, negligence or bad faith of the Special
Servicer (or its agents) in the performance of the Special Servicer's duties contemplated by this
Agreement; provided that neither the Special Servicer nor any of its directors, officers,
employees or agents shall be liable for any action taken or for refraining from the taking of any
action pursuant to instructions or directions from the Administrator or the Indenture Trustee or in
accordance with this Agreement and provided further however that the Back-Up Special Servicer
(in its capacity as successor Special Servicer) shall only be responsible for any such loss or
expense to the extent such are determined to be proximately caused by its own gross negligence
or willful misconduct. To the extent any indemnification amounts are not paid by the Special
Servicer, such amounts shall be paid by each Trnst (to the extent permitted under the applicable
Indenture as indemnities, fees and expenses of the Servicer paid after the payment of principal
and interest) in accordance with the respective Pool Balance of Stndent Loans then owned by
each Trnst.

        Section 11.    Records: Inspection. The Special Servicer shall maintain appropriate
books of acconnt and records relating to services performed hereunder, which books of account
and records shall be accessible for inspection by the Indenture Trustee at any time during normal
business hours. The Special Servicer hereby grants the Back-Up Special Servicer and the
lndentnre Trnstee the right for so long as any of the Notes remain outstanding, to perform
ongoing due diligence review of the Special Servicer' s activities hereunder; provided that, such
due diligence be conducted in a reasonable manner, convenient to the Special Servicer and the
Indentnre Trnstee. All expenses associated with the perfmmance of the due diligence review
shall be paid by the Trusts and shall be subject to the Monthly Reimbursement Limit described in
Section 5(B).

       Section 12.     Reporting: Additional Information to be Furnished. On the tenth Business
Day after the end of each calendar month, the Special Servicer shall furnish the Back-Up Special
Servicer and the Administrator on behalf of the Trusts, an electronically transfened data file
containing a monthly collection report regarding the Delinquent Loans or Defaulted Loans in a
form satisfactory to the Administrator. On the tenth Business Day after the end of each calendar
month, the Special Servicer shall furnish the Administrator on behalf of the Trusts and the Back-
Up Special Servicer an electronically transferred data file containing recovery data for Defaulted
Loan owned by each respective Trust and other information as required by Regulation AB, each



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for investor reporting purposes. The Special Servicer shall furnish to the Administrator on
behalf of the Trusts and the Back-Up Special Servicer from time to time such additional
information regarding the Student Loans, including Delinquent Loans or Defaulted Loans, as the
Administrator on behalf of the Trusts or the Back-Up Special Servicer shall reasonably request.

        Section 13.    Subservicing Agreements.      The Special Servicer will catLse each
subservicing agreement with a Subservicer to contain provisions consistent with this Agreement,
including provisions requiring the applicable Subservicer to maintain adequate records and
procedures with respect to a Student Loan and its performance. Each subservicing agreement
shall be terminable by the Special Servicer (including for the avoidance of doubt, the Back-Up
Special Servicer acting as successor Special Servicer) upon thirty days written notice . and shall
provide that any successor to the Special Servicer shall succeed to the Special Servicer
thereunder. The Special Servicer shall promptly provide the Back-Up Special Servicer copies of
all existing subservicing agreements with a Subservicer, including the NCO Agreement, and any
additional subservicing agreements between the Special Servicer and Subservicers or any
amendments to existing subservicing agreements with a Subservicer entered into after the date of
this Agreement.

        Section 14.   Regulation AB. On or before September 15 of each calendar year
beginning in 2009, the Special Servicer shall deliver to the Administrator any reports, servicer
compliance statements and attestations as may be required pursuant to the ten11S of any
Indenture. In the event the Special Servicer or the Back-Up Special Servicer is required to
deliver to the Administrator the documents described in this Section 14, the costs associated with
delivering such reports, including the fees and expenses of a registered public accounting finn,
shall be borne by the Administrator and reimbursed by the Trusts as a Servicer expense;
provided however that the obligation of the Special Servicer or of the Back-Up Special Servicer
as successor Special Servicer to deliver any such reports shall terminate if such reports are no
longer required by Regulation AB.

        Section I 5.   Security lntq_est. Each of the Trusts hereby Grants to the Indenture
Trustee as of the date hereof, all of the Trust's right, title and interest in and to this Agreement
and all present and future claims, demands, causes and chooses in action in respect of this
Agreement and all payments on or under and all proceeds of every kind and nature whatsoever in
respect of this Agreement. The foregoing Grant is made in trust to secure the payment of
principal of and/or interest on, as applicable, and any other amounts owing in respect ot: the
"Jotes, all as provided in the Indentures. The Indenture Trustee, as Indenture Trustee on behalf
of the holders of the Notes, acknowledges such Gran\, and accepts the Grant in accordance with
the provisions of the Indentures.

         Section 16.    Amendments. This Agreement may be amended from time to time by the
 parties hereto, including amendment of Schedule A and Schedule B, attached hereto, to add
 additional trusts, provided that any amendment must be accompanied by the WTitten consent of
 the Administrator and upon satisfying the Rating Agency Condition.

        Section 17.     Independence of the Special Servicer. For all purposes of this Agreement,
 the Special Servicer shall be an independent contractor and shall not be subject to the supervision
 of the Trusts with respect to the mam1er in which it accomplishes the performance of its



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obligations hereunder. Unless expressly autholized by the Trusts, the Special Servicer shall have
no authority to act for or represent the Trusts, respectively, in any way other than as specified
hereunder and shall not otherwise be deemed an agent of the Trusts.

        Section 18.     No Joint Venture. Nothing contained in this Agreement (i) shall constitute
the Special Servicer or Back-Up Special Servicer and any of the Trusts as members of any
partnership, joint venture, association, syndicate, unincorporated business or other separate
entity, (ii) shall be construed to impose any liability as such on any of them, or (iii) shall be
deemed to confer on any of them any express, implied or apparent authority to mcur any
obligation or liability on behalf of the others.

        Section 19.     Other Activities of the Special Servicer. Nothing herein shall prevent the
Special Servicer or Back-Up Special Servicer or their Affiliates from engaging in other
businesses or, in its or their sole discretion, from acting in a similar capacity as servicer for any
other person or entity even though such person or entity may engage in business activities similar
to those of the Trusts.

       Section 20.    Notices. Any notice, report or other communication given hereunder shall
be in wiiting and addressed as follows:

           If to the Special Servicer, to:
                           The First Marblehead Corporation
                           Tbe Prudential Tower
                           800 Boylston Street - 34th Floor
                           Boston, MA 02 l 99-8157
                           Attention: Corporate Law Department

            lfto the Back-Up Special Servicer, to:

                           U.S. Bank National Association
                           Corporate Trust - Structured Finance
                           One Federal Street, Third Floor
                           Boston, Massachusetts 0211 0
                           Attention: David Duclos
                           Phone: 617-603-6409
                           Fax: 617-603-6638

                           U.S. Bank National Association
                           c/o U.S. Bank Portfolio Services
                           13 10 Madrid, Suite I 03
                           Marshall, Mim1esota 56258
                           Attention: Joe Andries
                           Phone: 507-532-7129
                           Fax:    866-806-0755




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            lfto the Tmsts or the Indenture Trustee, to:

                           The address set forth in the applicable Indenture

                           With a copy to:

                           First Marblehead Data Services, lnc.
                           The Prudential Tower
                           800 Boylston Street - 34 th Floor
                           Boston, MA 02199-8157
                           Attention: Ms. Rosalyn Bonaventure

Or to such other address as any party shall have provided to the other paities in writing. Any
notice required to be in writing hereunder shall be deemed given if such notice is mailed by
certified mail, postage prepaid, sent by overnight courier for next-day delivery or hand-delivered
to the address of such pai·ty as provided above.

        Section 21.    Notice to Notebolders. Promptly upon execution of this Agreement, but in
any event no later than 30 days following execution hereof, the Special Servicer shall deliver to
the Indenture Trustee of each of the Trusts an executed copy of this Agreement along with a
form of notice to each Noteholder to be distributed to each Noteholder by the Indenture Trustee
in accordance with Article Xl of each Indenture to ihe effect that the respective Trust has entered
into this Agreement and has appointed FMER as Special Servicer and each Noteholdcr can
request a copy of the Agreement by contacting the Indenture Trustee.

             Section 22.   Miscellaneous.

        A        Snccessors and Assigns. This Agreement may not be assigned by the Special
Servicer unless such assignment is previously consented to in writing by the Indenture Tmstee,
and the Back-Up Special Servicer and unless each Rating Agency, after having been given 10
days' prior notice of such assignment, shall have declared in writing that such assignment will
not result in a reduction or withdrawal of the then-cu1Tent rating of the Notes or Certificates. An
assignment with such consent and satisfaction, if accepted by the assignee, shall bind the
assignee hereunder in the same manner a5 the Special Servicer is bound hereunder.
Notwithstanding the foregoing, this Agreement may be assigned by the Special Servicer, without
the consent of the Indenture Trustee or th.e Back-Up Special Servicer either (i) to a corporation or
other organization that is a successor (by merger, consolidation or purchase of assets) to the
Special Servicer or (ii) to Union Federal Savings Bank or any of its subsidiaries; provided that
such successor orgai1ization executes and delivers to the Indenture Trustee and the other parties
hereto an agreement in which such corporation or other organization agrees to be bound
hereunder in the same manner as the Special Servicer is bound hereunder. Subject to the
foregoing, this Agreement shall bind any such permitted successors or assigns of the patiies
hereto.

       B.      Governing Law. This Agreement shall be governed by, and construed in
accordance with, the laws of the State of New York, without giving effect to conflicts of laws
provisions thereof (other than Section 5-140 i of the New York General Obligations Law).



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        C.    Headings. The section headings hereof have been inserted for convenience of
reference only and shall not be construed to affect the meaning, construction or effect of this
Agreement.

      D.      Counteroatts. This Agreement may be executed in counterparts, each of which
when so executed shall together constitute but one and the same agreement.

       E.       Severabilitv. Any provision of this Agreement that is prohibited or unenforceable
in any jurisdiction shall be ineffective to the extent of such prohibition or unenforceability
withont invalidating the remaining provisions hereof and any such prohibition or
tmenforceability in any jurisdiction shall not invalidate or render unenforceable such provision in
any other jurisdiction.

        F.      Limitation of Liabilitv of Owner Trustee. Notwithstanding anything contained
herein to the contrary, this instrnment has been executed by Wilmington Trust Company, not in
its individual capacity but solely in its capacity as Ovmer Trnstee of each of the Trusts, and in no
event shall Wilmington Tiust Company in it~ individnal capacity or any beneficial owner of the
Trnsts have any liability for the representations, warranties, covenants, agreements or other
obligations of the Trusts hereunder, as to all of which recourse shall be had solely to the assets of
the Trusts. For all pnrposes of this Agreement, in the perfonnance of any duties or obligations of
the Trusts hcrctmder, the Owner Trustee shall be subject to, a11d entitled to the benefits of, the
terms and provisions of Articles VIII, IX and X of the each Trust Agreement of the Trusts.

        G.      Third Pmiv Beneficiarv. The parties hereto acknowledge that the Noteholders,
Certificateholders and the lndentnre Trustee are express third party beneficiaries hereof and are
entitled to enforce their respective rights hereunder as if actually parties hereto.

       H.     No Petition. The parties hereto will not at any time institute against the Trusts
any bankruptcy proceeding tmder any United States federal or state bankruptcy or similar law in
connection with any obligations of the Trusts under any Transaction Document as defined in the
Indenture.

        I.      Grant Each Trust hereby acknowledges that the Servicing Agreement is a
"Servicing Agreement" for all purposes of its applicable Indenture. Each Trust hereby Gra11ts to
the Indenture Trustee, as trustee under each Indenture for the benefit of the Holders of Notes and
other secured parties as applicable nnder the applicable lndentnre, all of its right, title and
interest in and to (i) the Agreement; and (ii) all present and future claims, demands, causes and
choses in action in respect of any or all of the foregoing and all payments on or under and all
proceeds of every kind and nature whatsoever in respect of any or all of the foregoing, including
all proceeds of the conversion, voluntary or involuntary, into cash or other liquid property, all
cash proceeds, acconnts, accounts receivable, notes, drafts, acceptances, chattel paper. checks,
deposit accounts, insurance proceeds, condemnation awards, rights to payment of any and every
kind and other forms of obligations and receivables, instruments and other prope11y which at any
time constitute all or part of or are included in the proceeds of the foregoing. The Administrator
on behalf of each Trust shall tal(e all steps necessary to ensure the perfection and priority of the
Indenture Trustee's security interest in the foregoing collateral. By its signature below, the




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Indenture Trustee on behalf of the holders of Notes and other secured parties as applicable,
acknowledges such Grant.

                             [SIGNATURE PAGE FOLLOWS]




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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed by their respective officers hereunto duly authorized, as of the day and year first above
writtt-'Tl.

                                             First Marblehead Education Resources, Inc., as the
                                             Special Servicer


                                             By: ~'-~-··~/4_:JP~:•,.._--' _ _ _ __
                                                 Name:
                                                 Title:


                                             U.S. Bank National Association, as the Back-Up
                                             Special Servicer


                                             By: - - - - - - - - - - - - - - - - -
                                                 Name:
                                                 Title:


                                             Each of the Trusts listed on Schedule A, attached
                                                 hereto

                                             By: Wilmington Trust Company, not in its
                                                 individual capacity hut solely as Owner
                                                 Trustee


                                             By.---------------
                                              Name:
                                                  Title:


                                             ACKNOWLEDGED AND CONFIRMED:


                                             First Marblehead Data Services, Inc., as
                                             Administrator




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        IN ·wITNESS WHEREOF, the parties hereto have caused this Agreemeut to be duly
executed by their respective officers hereunto duly authorized, as of the day and year first above
written.

                                             First Marblehead Education Resources, Inc., as the
                                             Special Servicer


                                             By:---------------
                                              Name:
                                              Title:


                                             U.S. Bank National Association, as the Back-Up
                                             Special Servicer     /)

                                             By:   CE LJ-L.-
                                                   J\l!fune:
                                                      .           Joseoh And nes
                                                                              ·
                                                   Title:      Senior Vice President

                                             Each of the Trusts listed on Schedule A, attached
                                                 hereto

                                             By: Wilmington Trust Company, not in its
                                                 individual capacity but solely as Owner
                                                 Trustee


                                             By:---------------
                                              Name:
                                              Title:


                                             ACKNOWLEDGED AND CONFIRMED:


                                             First Marblehead Data Services, Inc., as
                                             Administrator


                                             By:---------------
                                              Name:
                                              Title:




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         IN WITNESS \VHEREOF, the parties hereto have caused this Agreement to be duly
executed by their respective officers hereunto duly authorized, as of the day and year first above
written.

                                             First Marblehead Education Resources, Inc., as the
                                             Special Servicer




                                             U.S. Bm1k National Association, as the Back-Up
                                             Special Servicer


                                             By: - - - - - - - - - - - - - - - -
                                                 Name:
                                                 Title:


                                             Each of the Trusts listed on Schedule A, attached
                                                 hereto

                                             By: Wilmington Tmst Company. not in its
                                                 individual capacity but solely as Owner



                                             By~)a~
                                                 Trustee



                                                  Name:        Dorri Costello
                                                  Title: Financial Services Officer


                                             ACKi"lOWLEDGED AND CONFIRMED:


                                             First Marblehead Data Services, Inc., as
                                             AdminislTator




{F002cl%S.1 \ 10129599\V-6
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                               ACKNOWLEDGED:

                               U. S. Bank National Association, as Indenture
                               Trustee for each of the Indentures listed on
                               Schedule A attached hereto


                                          n:A~~•
                               By:---~+--,,'-------------
                                Name:
                                 Title:
                                        David Dudes
                                                        Ftes\dent




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   Case 2:20-cv-00680-DGE Document 97-1 Filed 03/01/22 Page 25 of 35




                                          SCHEDULE A

Trusts:

   •    The National    Collegiate Studem Loan Trust 2003-1;
   •    The National    Collegiate Student Loan Trust 2004-1;
   •    The National    Collegiate Student Loan Trust 2004-2;
   •    The National    Collegiate Student Loan Trust 2005-1;
   •    The National    Collegiate Student Loan Trust 2005-2;
   •    The National    Collegiate Student Loan Trust 2005-3;
   •    The National    Collegiate Student Loan Trust 2006-1;
   •    'Die National   Collegiate Student Loan Trust 2006-2;
   •    The National    Collegiate Student Loan Trust 2006-3;
   •    The National    Collegiate Student Loan Trust 2006-4;
   •    The National    Collegiate Student Loan Trust 2007-1; and
   •    The National    Collegiate Student Loan Trust 2007-2,

Indentures:

Each of the following Indentures, as amended or supplemented, entered into by and between
U,S, Bank National Association, as Indenture Trustee and:

   •    The National Collegiate Student Loan Trust 2003-1, dated as of December 1, 2003;
   •    The National Collegiate Student Loan Trust 2004-1, dated as of June!, 2004;
   •    The National Collegiate Student Loan Trust 2004-2, dated as of October I, 2004:
   •    The National Collegiate Student Loan Trust 2005-1, dated as of February 1, 2005;
   •    The National Collegiate Student Loan Trust 2005-2, dated as of June 1, 2005;
   •    The National Collegiate Student Loan Trust 2005-3, dated as of October l, 2005;
   •    The National Collegiate Student Loan Trust 2006-1, dated as of March 1, 2006;
   •    The National Collegiate Student Loan Trust 2006-2, dated as of June 1, 2006;
   •    The National Collegiate Student Loan Trust 2006-3, dated as of September 1, 2006;
   •    The National Collegiate Student Loan Trust 2006-4, dated as of December 1, 2006;
   "'   The National Collegiate Student Loan Trust 2007-1, dated as of March 1, 2007; and
   •    The National Collegiate Student Loan Trust 2007-2, dated as of June 1, 2007,




                                                A-1
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                                            SCHEDULEB

                     [Schedule of Reimbursement Limits per Trust by Calendar Month]




                                                   B-l
(FOl)2393S   ~   ]
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                                                                                                             -
                                                                                 Schedule B
Monthly Reimbursement Limit for payments relating to Delinquent Loans

 Date         2003-1        200+1        2004-2        2005--1      2005-2         2005-3       2006-1                   gQQ6-3      2006-:.4    gQQ_Z::1    2007-2
              36,000.00    41,000,00     57,000.00    46,000-00     36,000.00      82,000.00    57,000.00    41,000.00   88,000.00   57,000.00   62,000.00   62,000.00
02/2009
              36,000.00    41,000.00     57,000.00    46,000.00     36,000.00      82,000.00    57,000.00    41,000.00   88,000.00   57,000.00   62,000.00   62,000.00
03/2009
04/2009       21,000.00    26,000.00     52,000.00    4·1,000.00    31,000.00      77,000.00    52,000.00    41,000.00   88.000.00   57,000.00   62,000.00   67,000.00
05/2009       21,000.00    26,000.00     52,000.00    41,000.00     31,000.00      77,000.00    52,000.00    41,000.00   88,000.00   57,000.00   62,000.00   67,000.00
06/2009       21,000_00    26.000.00     52,000.00    41 ,000,00    31,000.00      77,000.00    52,000.00    41,000.00   88,000.00   57,000.00   62,000.00   67,000.00
07/2009       16.000.00    16,000.00     42.000.00    32,000_00     27,000.00      64,000.00    42,000.00    37,000.00   80,000.00   48,000.00   53,000.00   58,000.00
08/2009       16,000.00    16,000.00     42,000.00    32,000.00     27,000.00      64,000.00    42,000.00    37,000.00   80,000.00   48,000.00   53,000.00   58,000.00
              16,000.00    16,000.00     42,000.00    32,000"00     27,000.00      64,000,00    42,000.00    37,000.00   80,000.00   48,000.00   53,000,00   58,000.00
09/2009
1012009       iG,000.00    16,000.00     37,000.00    27,000_QO     21,000.00      53,000.00    37,000.00    27,000.00   64,000.00   37,000.00   42,000.00   48,000.00
              16,000.00    16,000.00     37,000.00    27,000.00     21,000.00      53,000.00    37,000.00    27,000.00   64.000.00   37,000.00   42,000.00   48,000.00
11/2009
                           16,000.00     37,000.00    27,000_00     21,000.00      53,000.00    37,000.00    27,000.00   64,000.00   37,000.00   42,000.00   48,000.00
12/2009       16,000.00
              11,000.00    11,000.00     37,000.00    27,000.00     21,000.00      53,000.00    37,000.00    27,000.00   64.000.00   42,000.00   42,000.00   48,000.00
01/2010
0212010       11,000.00     11,000.00    37,000.00    27,000.00     2i,000.00      53,000.00    37,000.00    27,000.00   64,000.00   42,000.00   42,000.00   48,000.00
03/2010       11,000.00     11,000_00    37,000.00    27,000.00     21,000.00      53,000.00    37,000.00    27,000.00   64,000.00   42,000_QO   42.00000    48,000.00
              11,000.00     11,000.00    37,000.00    27,000_QQ     21,000.00      53.000.00    37,000.00    27,000.00   64,000.00   42,000.00   48,000.00   48,000.00
04/2010
              11,000.00     i 1,000.00   37,000.00     27,000.00    21,000.00      53,000.00    37,000.00    27,000.00   64,000.00   42,000.00   48,000.00   48,000.00
05/2010
              11,000.00     11,000<00    37,000.00    27,000.00     2L000.00       53,0QO_QO    3/,000_-00   27,000.00   64,000.00   42,000.00   48,000.00   48,000.00
06/2010
              11,000.00     11,000.00    38,000.00    27,000.00     16,000.00      49,000.00    33,000.00    27,000.00   60,000.00   38,000.00   44,000.00   49,000.00
0712010
              11,000.00    1 ·1,000.00   38,000.00    27,000.00     16.000.00      49,000.00    33,000.00    27,000.00   60,000.00   38,000.00   44,000.00   49,000.00
08/2010
              11,000.00    11,0QO_OO     38,000.00    27,000.00     16,000.00      49,000.00    33,000.00    27,000.00   60,000.00   38,000.00   44,000.00   49,000.00
09/2010
                           11,000.00     33,000.00    27,000.00     16,000.00      44,000.00    33,000.00    22,000.00   55,000.00   33,000.00   38,000.00   44,000.00
10/2010       11,000.00
              11,000.00    11,000.00     33,000.00    27,000,00     16,000.00      44,000.00    33.000.00    22,000.00   55,000.00   33,000.00   38,000.00   44,000.00
11/2010
              11,000.00    11,000_00     33,0QO_OO    27,000.00     i6,000.00      44,000.00    33,000_QQ    22,000.00   55,000.00   33,000.00   38,000.00   44,000.00
12/2010
                           11,000.00     27,000.00    22,000.00     16,000.00      49,000.00    33,000.00    22,000.00   60,000.00   33,000.00   38,000.00   44,000.00
01/2011       11.000.00
                           11,000.00     27,000.00    22,000_00     16,000.00      49,000.00    33,000.00    22,000.00   60.000.00   33,000.00   38,000.00   44,000,00
02/201 i      11,000.00
                           11,000.00     2/,000.00    22,000.00     16.000.00      49,000.00    33,000,00    22,000.00   60,000.00   33,000,00   38,000.00   44,000.00
03/2011       11,000.00
                                         22,000.00    22,000.00     16,000.00      49,000.00    33,000.00    22,000.00   60,000.00   38,000.00   38,000.00   44-,000,00
04/2011       11,000.00    11,000.00
              11,000.00    11,000_00     22,000.00    22,000.00     16,000.00      49,000.00    33,000.00    22,000.00   60,000.00   38,000.00   38,000.00   44,000.00
0512011
                           11,000.00     22,000.00    22,000.00     16,000,00      49,000.00    33,000.00    22,000.00   60,000.00   38,000.00   38,000.00   44,000.00
06/20'11      11,000.00
               6,000.00    11,000.00     23,000.00    17,000.00     17,000.00      51,000.00    28,000.00    23,000.00   56,000.00   34,000.00   39,000.00   39,000.00
07/2011
                           11,000.00     23,000.00    17,000.00     17,000.00      51,000.00    28,000.00    23,000.00   56,000.00   34,000.00   39,000.00   39,000.00
08/2011        6,000.00
09/2011        6,000.00    i 1,000.00    23,000.00    17,000_oo     17,000.00      51,000.00    28,000.00    23,000.00   56,00000    34,000 00   39.000.00   39,000.00
                             6,000.00    23,000.00    17,000.00     11,000.00      45,000.00    28,000,00    23,000.00   51,000,00   28,000,00   34,000.00   34,000.00
10/201 i       6,000.00
11i2011        6,000.00      6,000.00    23,000.00    17,000.00     11,000.00      45,000.00    28,000.00    23,000.00   51,000.00   28,000.00   34,000.00   34,000.00
12/2011        6,000.00      6,000.00    23,000.00    17,000.00     11,000.00      45,0QQ_OO    28,000.00    23,000.00   51,000.00   28,000.00   34,000.00   34,000.00
               6,000.00      6,000.00    17,000.00    17,000.00     i 1,000.00     34,000.00    28,000.00    23,000.00   56,000.00   34,000,00   34,000.00   39,000.00
Oi/2012
                             6,000.00    17,000.GO    17,000.00     11,000.00      34,000.00    28,000.00    23.000.00   56,000.00   34,000.00   34,000,00   39,000.00
02/2012        6,000.00
                             6,000.00    17,000.00    17,000.00     11,000.00      34,000.00    28,000.00    23,000.00   56,000.00   34,000.00   34,000.00   39.000.00
03/2012        6.000.00
               6,000.00      6,000.00    17,000.00    17,000.00     11,000.00      34,000.00    23.000.00    23,000.00   56,000.00   34,000.00   34,000.00   39,000.00
04-/2012
                             6,000.00    17,000.00    17,000.00     ii,000.00      34,000.00    23,000.00    23,0QQ_QQ   56,000.00   34,000.00   34,000.00   39,000.00
05/2012        6,000.00
06/2012        6,000.00      6,000.00    17,000_00    17,000.00     11,000.00      34,000.00    23,000.00    23,000.00   56,000.00   34,000,00   34,000.00   39,000.00
               6,000.00      6,000_00    17,000.00    17,000.00     12,000.00      35,000.00    23,000.00    17,000.00   58,000.00   35,000.00   35,000.00   35,000.00
07i2012
               6,000.00      6,000.00    17,000.00    17,000.00     12,000.00      35,000.00    23,000.00    17,000.00   58,000.00   35,000.00   35,000.00   35,000.00
08/2012
                             6,000.00    17,000_QO    17,000_00     12,000.00      35,000.00    23,000.00    17,000.00   58,000,00   35,000_0Q   35,000.00   35,000.00
09)2012        6,000.00
                             6,000.00    17,000.00    12,000.00     12,000.00      29,000.00    23,00Q_OO    11,000_00   46,000.00   29,000.00   35,000.00   35,000.00
10/2012        6,000.00




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                                                                                   Schedule 8
Monthly Reimbursement Limit for payments relating to Delinquent Loans

 Date         2003·1        2004•1       2004-2       2005-1        2005·2           2005-3       2006-1       2006-2      2006·;!       2006~4       2007-1      2007-2
11/2012        6.000.00      6,000.00    17,000.00    12,000.00     12,000.00        29,000.00    23,000.00    17,000.00   46,000.00     29,000.00    35,000.00   35,000.00
1212012        6,000.00      6,000.00    17,000.00    12,000.00     12,000.00        29,000.00    23,000.00    17,000.00   46,000.00     29,000,00    35,000.00   35,000.00
01/2013        6,000.00      6,000.00    17,000.00    12,000.00     12,000.00        29,000.00    '17,000.00   17,000.00   4'1 ,000.00   23,000.00    35,000.00   35,000.00
02/2013        6,000.00      6,000.00    17,000.00    12,000.00     12,000DO         29,000.00    17,000.00    17,000.00   41,000.00     23,000.00    35,000.00   35,000.00
03i2013        6,000.00      6,000.00    17,000.00    12,000.00     12,000.00        29,000.00    17,000.00    17,000.00   4L000.00      23,000.00    35.000.00   35,000.00
04/2013        6,000.00      6,000.00    12,000.00    12,000.00     12,000.00        23,000,00    17,000.00    12,000.00   41.000.00     23,000.00    29,000.00   :35,000.00
05/2013        6,000.00      6,000.00    12,000.00    12,000.00     12,000.00        23,000.00    17,000.00    i2,000.00   41,000.00     23,000.00    29,000.00   35,000.00
06/2013        6,000.00      6,000.00    12,000.00    12,000.00     12,000.00        23,000.00    17,000.00    12.000.00   41,000.00     23,000.00    29,000.00   35,000.00
07/2013        6,000.00      6,000.00    12,000.00    12,000.00      6,000.00        24,000.00    18,000.00    12,000.00   36,000.00     24,000.00    24,000.00   30,000.00
08J20i 3       6,000.00      6,000.00    12,000.00    12,000.00      6,000.00        24,000.00    18,000.00    12,000.00   36,000.00     24.000.00    24,000.00   30,000.00
               6,000.00      6,00000     i2,000.00    12,000.00         6,000.00     24,000.00    18,000.00    12,000.00   36,000.00     24,000.00    24,000.00   30,000.00
0912013
10/2013        6,000.00      6,000.00    12,000.00    12,000.00         6,000.00     24,000.00    18,000.00    12,000.00   36,000.00     18,000.00    24,000.00   24;000.00
11/2013        6,000.00      6,000.00    12,000.00    12,000,00         6,000.00     24,000.00    18,000.00    12,000.00   36,000<00     18,00000     24,000,00   24,000.00
12/2013        6,000.00      6,000.00    12,000.00    12,000.00         6,000.00     24,000,00    18,000.00    12,000.00   36,000.00     18,000.00    24.000.00   24.000.00
               6,000.00      6,000.00    12,000.00    12,000,00         6,000.00     24,000.00    18,000.00    12,000.00   30,000.00     18,000.00    24,000DO    24.000.00
01/2014
02/2014        6,000.00      6,000.00    12,000.00    ·12,000.00        6,000.00     24,000<00    18,000.00    12,000,00   30,000.00     18,000.00    24,000.00   24,000,00
               6,000.00      6,000.00    12,000.00    12,000.00         6,000.00     24,000.00    18,000.00    12,000.00   30,000.00     18,000.00    24,000.00   24,000.00
0312014
04/2014        6,000.00      6,000.00    12,000.00    12.000.00         6,000.00     18.000.00    12,000.00    12,000.00   30,000.00     18,00000     18,0J0.00   24,000.00
               6,000.00      6,000.00    12,000.00    12,000.00         6,000.00     18,000.00    12,000.00    12,000.00   30,000.00     18,000.00    18,000.00   24,000.00
05/2014
               6,000.00      6,000.00    12,000.00    i2,000.00         6,000.00     18,000.00    12,000.00    12,000.00   30,000.00     18,000.00    18,000.00   24,000.00
06/2014
               6,000.00      6,000.00    12,000.00     6,000.00         6,000.00     18,000.00    12,000.00    12,000.00   31,000.00     18,000.00    18,000.00   18,000.00
07/2014
                             6,000.00    12,000.00     6,000.00         6,000.00     18,000.00    12,000.00    12,000.00   31,000.00     18,000.00    18,000.00   18,000.00
08/2014        6,000.00
               6,000.00      6,000.00    12,000.00     6,000.00         6,000.00     18,000.00    12,000.00    12,000.00   31,000.00     18,000.00    18,000.00   18,000.00
09/2014 ,
                             6,000.00    12,000.00     6,000.00         6,000.00     18,000.00    12,000.00    12,000.00   25,000.00     12,000.00    18,000.00   18,000.00
10/2014
                             6,000.00    i2,000.00     6,000.00         6,000.00     18,000.00    12,000.00    12,000.00   25,000.00     12,000.00    18,000.00   18,000.00
i 1/2014
                             6,000.00    12,000.00     6,000.00         6.000,00     18,000.00    12,000.00    12,000,00   25,000.00     12,000.00    18,000.00   18,000.00
1212014
                                          6,000.00     6,000.00         6,000.00     18,000.00    12,000.00     6,000.00   25,000.00     12,000.00    18,000.00   18,000.00
01/2015
                                          6,000.00     6,000.00         6,000.00     18,000.00    12,000.00     6,00000    25,000.00     12,000.00    18,000.00   18,000.00
02/2015
                                          6,000.00     6,000.00         6,000.00     18,000.00    12,000.00     6,000.00   25,000.00     12,000.00    18,000.00   18,000,00
03/2015
                                          6,000.00     6,000.00         6,000.00     18,000.00    12,000.00     6.000.00   25,000.00     12,000.00    18,000.00   18,000.00
04/2015
                                          6,000.00     6,000.00         6,000.00     18,000.00    12,000.00     6,000.00   25,000.00     12,000.00    18,000.00   18,000.00
05/2.015
                                          6,000.00     6,000.00         6,000.00     18,000.00    12,000.00     6,000,00   25,000.00     12,000.00    18,000.00   18,000.00
06/2015
07/2015                                   6,000.00     6,000.00         6,000.00     13,000.00    13,000.00     6,000.00   19,000.00     13,000.00    13,000.00   19,000.00
                                          6,000.00     6,000.00         6,000.00     13,000.00    13,000.00     6,000.00   19,000.00     13,000.00    13,000.00   19,000.00
08/2015
                                          6,000.00     6,000.00         6,000.00     13,000.00    13,000.00     6,000.00   19,000.00     13,000.00    13.000.00   19,000.00
09/2015
                                          6,000.00     6,000.00         6,000.00     13,000.00     6,000.00     6,000.00   19,000.00     13.000.00    13,000.00   13,000.00
10/2015
11/2015                                   6,000,00     6,000.00         6,000.00     13,000.00     6,000.00     6,000.00   19,000.00     13,000.00    13,000.00   13.000.00
                                          6,000.00     6,000.00         6,000.00     13,000.00     6,000.00     6,000.00   19,000.00     13,000.00    13,000.00   13,000.00
12i2015
                                          6,000.00     6,000.00         6,000.00     13,000.00     6,000.00     6,000.00   19.000.00     13,000.00    13,000.00   13,000.00
0-112016
                                          6,000,00     6,000.00         6,000.00     13,000.00     6,000,00     6,000.00   19,000.00     "13,000.00   13,000.00   i 3,000.00
02/2016
                                          6,000.00     6,000.00         6,000.00     13,000.00     6,000.00     6.000.00   19,000,00     13,000.00    13,000.00   13,000.00
03/2016
                                          6,000.00     6,000.00         6,000.00     13,000.00     6,000.00     6,000.00   19,000.00     13,000.00    13,000.00   13,000.00
04-/2016
                                          6,000.00     6,000.00         6,000.00     13,000.00     6,000.00     6,000.00   19.000.00     13,000.00    13,000.00   13,000.00
05/2016
                                          6,000.00     6,000.00         6,000.00     13,000.00     6,000.00     6,000.00   19,000.00     13,000.00    13,000.00   13,000.00
06/2016
                                          7,000.00     7,000.00                      i3,000.00     7,000.00     7,000,00   20,000.00      7,000.00    13,000.00   13,000.00
07/2016




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                                                                    -
                                                                        Schedule B
Monthly Reimbursement Limit for payments relating to Delinquent Loans

                                                                                        2006-1      2006-2      2006-3      2006-4      :W!I:1      200:Z:,£
 Date         2003·1        2004--1      2004-2       .22!}§,:1           ~                                                                         13,000.00
                                                                          13,000.00      7,000.00   7,000.00    20,000.00   7.000.00    13,000.00
08/2016                                   7,000.00      7,000.00
                                                                                                    7,000.00    20,000.00    7,000.00   13,000.00   !3,000.00
                                          7,000.00     7,000.00           13,000.00      7,000"00
09/2016                                                                                                         13,000.00    7,000.00   13,000.00   13,000.00
                                          7,000.00                         7,000.00      7,000.00   7,000.00
10/2016                                                                                                         13,00Q_QQ    7,000.00   13,000.00   13,000.00
                                          7,000.00                         7,000.00      7,000.00   7,000.00
11/2016                                                                                                                      7,000.00   13,000.00   13,000.00
                                                                           7,000.00      7,000.00   7,000.00    i3,000.00
12/2016                                   7,000.00                                                                                                  i3,00Q_OO
                                                                           7,000,00      7,000.00   7,000.00    13,000.00    7.000.00    7,000.00
01/2017                                                                                                         13,000.00    7,000.00    7,000.00   13,000.00
                                                                           7,000.00      7,000.00   7,000.00
02/2017                                                                                                         13,000.00    7,000.00    7,000.00   13,000.00
                                                                           7,000.00      7,000.00   7,000.00
03/2017                                                                                                         13,000.00    7,000.00    7,000.00     7,000.00
                                                                           7,000.00      7.000.00   7,000.00
04/2017                                                                                                         13,000.00    7,000.00    7,000.00    7,000.00
                                                                           7,000.00      7,000.00   7,000.00
05/2017                                                                                                                      7,000.00    7,000.00    7,000.00
                                                                           7,00000       7,000.00   7.000.00    13,000.00
06/2017                                                                                                         13,000.00    7,000.00    7,000.00    7,000.00
                                                                           7,000_00      7,000.00    7.000.00
07/2017                                                                                                         13,000.00    7,000.00    7,000.00    7,000.00
                                                                           7,000.00      7,000.00    7,000.00
08/2017                                                                                                         13.000.00    7,000.00    7,000.00    7,000.00
                                                                           7,000.00      1,000_00    7,000.00
09/2017                                                                                                          7,000.00    7,000.00    1,000_00    7,000.00
                                                                           7,000.00      7,000.00
1012017                                                                                                          7,000.00    7,000.00    7,000.00    7,000.00
                                                                           7,000.00      7,000.00
11/2017                                                                                                          7,000.00    7,000.00    7,000.00    7,000.00
                                                                           7,000.00      7,000.00
12/2017                                                                                                          7,000.00    7,000.00    7,000.00    7,000.00
                                                                           7,000.00
01/2018                                                                                                          7,000.00    7,000.00    7,000.00    7,000.00
                                                                           7,000,00
02/2018                                                                                                          7,ooo_oo    7,000.00    7,000.00    7,000.00
                                                                           7,000.00
03/2018                                                                                                          7,000.00    7,000.00    7,000.00    7,000.00
                                                                           7,000.00
04/2018                                                                                                          7,000.00    7,000.00    7,000.00    7,000.00
                                                                           7,000.00
05/2018                                                                                                          7,0oo_oo    7,000.00    7,000.00    7,000.00
                                                                           7,000.00
06i2018                                                                                                          7,000.00    7,000.00    7,000.00    7,000.00
07/20i8                                                                                                          7,000.00    7,000.00    7,000.00    7,000.00
08/2018                                                                                                          7,000.00    7,000_00    7,000.00    7,000.00
09/2018                                                                                                          7,000.00                7,000.00    7,000.00
10/2018                                                                                                          7,000.00                7,000.00    7,000.00
11/2018                                                                                                          7,000.00                7,000.00    7,000.00
12/2018                                                                                                          7,000.00                7,000.00    7,000.00
01/2019                                                                                                          7,000.00                7,000.00    7,000.00
02/2019                                                                                                          7,000.00                7,000.00    7,000.00
03/2019                                                                                                          7,000.00
04/2019                                                                                                          7,000.00
05/2019                                                                                                          7,000.00
06/2019
07/2019
08/2019
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10/2019
 11/2019
 12/2019
 0112020
 02/2020
 03/2020
 04/2020



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                                       SCHEDULEC

                 [Schedule of Early Awareness Reimbursement Limits per Trust]




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                                                                      Schedule C
Lifetime Expense limit for payments relating to Early Awareness Program



  2.!lJ&1       2004-1       2004-2        2005•1        2005-2        2005-3        2006·1        2006-2        2006-3        ~~            2007-1        2007•2
 $17,000.00   $34,000.00   $149,000.00   $123,000.00   $105,000.00   $345,000,00   $257,000.00   $180.000.00   $527,000.00   $305,000.00   $416,000.00   $400,000.00
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                                                 EXHIBIT I

All TERI claim packages require the following documentation:

*                 Application, Credit Agreement, and Disclosure Statement

*        Evidence of preparation for repayment summary letter and
telephone attempts

*        Forbearance Form(s) and supporting documentation where
required and/or system generated history reflecting the forbearance
period

*         Delinquency servicing history for the most recent 210 day
period or the delinquency period prior to claim, whichever is less.

*                 Payment History, Correspondence History

*        Assignment of Rights (should include disbursement date and
name of the cunent Ovvner)

*       Bankruptcy and/or death infonnation as appropriate (see
Death Claim section)



For Non-TERI Originated Loans the claim package must also include the
following documentation:

 *                Credit Bureau Report (for non-TERI originated loans only)

 *         School Certification signed by school official or
 Enrollment Verification for Direct-to-Consumer and Continuing Education
 loans (for non-TERI originated loans only)

    *          Income/Employment Documentation, including but not
    limited to, where applicable, full recourse letter, income verification
    letter, and revolving debl hurden calculation (for non-TERI originated
    loans only)

    •         Immigration documentation required to be collected at
    origination (J1/k/a U.S. Citizenship and Immigration Service (USCIS))
    documentation of proof of permanent U.S. residency (if applicable) (for
    non-TERI originated loans only):




                                                   Exhibit l-1
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Cosigners:

*                        INS 151 or INS 551 fonn with a valid expiration;

*              A departure record (1-94) with a valid expiration
date issued from the JNS showing "Refugee," or "Asylum Granted" or
"Indefinite Parole" and/or humanitarian parole; or

*                        Foreign passport bearing an unexpired temporary
I-551 stamp,

Students:

*               Copy of his or her student visa, permanent
resident card, F-1 or I -20 form,

*              A departure record (1-94) with a valid expiration
date issued from the INS showing "Refugee," or "Asylum Granted" or
"Indefinite Parole" and/or humanitarian parole; or

*                         INS 151 or INS 551 form with a valid expiration;

For a Rehab Loan, the required claim documentation includes:

*                  Application, Credit Agreement

*                  Repurchase Disclosure Statement

*     Assignment of Rights {should include disbursement date and
name of the current Owner)

•                  Payment History, Correspondence History

*      Delinquency servicing history for the most recent 210 day
period or the delinquency period prior to claim, whichever is less,

*      Bankruptcy and/or death information as appropriate (see Death
Claim section)

In the event of a rolling delinquency, the Servicer will submit the
history for the most recent 210 days or the delinqnency period prior to
claim, whichever is less, This may not include all delinquency
servicing activities for the loan (e,g,, activities perfom1ed in the
early states of delinquency due to the fact the Borrower rolled several
times during the delinquency period),




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TERI will accept microfilm or electronic copies of all original
documents with the claim package. In the event that the Servicer is
unable to secure the original wet signature Credit agreement, TERI will
accept a copy of such Note if it is accompanied by a notarized affidavit
ce1iifying that the original is not available and that the copy is a
true one.

Further, the complete copy of the Note must contain the signatures of
all obligors of the note. If a court of competent jurisdiction refuses
to accept the submitted copy of a note in the event that TERI must
litigate a case. and TERI loses the case for that reason, TERI will be
reimbursed by the Loan Owner for the amount that TERI paid to the Owner
via the Servicer on the claim.

TERI, the Owner, and the Servicer acknowledge there may be contractual
agreements between Owner and Servicer governing the entity responsible
for reimbursing TERl the an101mt of the claim if a court of competent
jurisdiction refuses to accept such a copy of a Note.

TERI will make its best effort to send claim payments to the Servicer
90-120 days after the claim has been submitted. Claim payments shall
include accrued interest through the payoff date,




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                               EXHIBIT II

                             [NCO Agreement]




                                 Exhihit 11-1
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